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  8
                        IN THE UNITED STATES DISTRICT COURT
  9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
 11   SOCHIL MARTIN,                              2:20-cv-01437-ODW-AS
 12                                Plaintiff, THE PEOPLE OF THE STATE OF
                                              CALIFORNIA’S MEMORANDUM
 13                v.                         OF POINTS AND AUTHORITIES IN
                                              SUPPORT OF MOTION TO
 14   LA LUZ DEL MUNDO, an                    INTERVENE AND TO STAY CIVIL
      unincorporated association, NAASÓN DISCOVERY DURING PENDENCY
 15   JOAQUÍN GARCÍA, an individual,          OF CRIMINAL PROCEEDINGS
      EL CONSEJO DE OBISPOS, an
 16   unincorporated association,             Date:         July 13, 2020
      INTERNATIONAL BEREA USA, an Time:                     1:30 p.m.
 17   unincorporated association,             Courtroom: 5D
      GILBERTO GARCÍA GRANADOS,
 18   an individual, JOSE HERNANDEZ,          Judge:        Hon. Otis D. Wright, II
      an individual, UZZIEL JOAQUÍN,
 19   an individual, SILVERIO                 Trial Date: Not set
      CORONADO, an individual,                Action Filed: February 12, 2020
 20   AURELIO ZAVALETA, an
      individual, JOSE LUIS ESTRADA,
 21   an individual, JONATHAN
      MENDOZA, an individual, ALMA
 22   ZAMORA DE JOAQUÍN, an
      individual, BENJAMIN JOAQUÍN
 23   GARCÍA, an individual, RAHEL
      JOAQUÍN GARCÍA, an individual,
 24   ADORAIM JOAQUÍN ZAMORA, an
      individual, DAVID MENDOZA, an
 25   individual and DOES 1 through 10,
      inclusive,
 26
                                   Defendants.
 27
 28
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  1                                    INTRODUCTION
  2         The People of the State of California seek leave to intervene in this civil
  3   action solely for the limited purpose of staying discovery and disclosure of
  4   witnesses until the pending criminal matter against Defendant Naasón Garcia and
  5   others – People v. Garcia et al., Los Angeles Superior Court Case No. BA475856 –
  6   is resolved by way of a judgment of conviction, acquittal, or dismissal with
  7   prejudice. There are overlapping issues of fact and law in the criminal case pending
  8   before the Los Angeles Superior Court and this civil action, and the victims and
  9   witnesses in the criminal matter – whose identities are protected by court order –
 10   will likely be the subject of discovery in this case. A stay of disclosure of witnesses
 11   and discovery in this civil action is necessary to provide safety and privacy for the
 12   victims and witnesses in the criminal matter, and to maintain the integrity of the
 13   criminal prosecution of an alleged serial child molester. Allowing civil discovery
 14   to proceed would permit defendants to circumvent the rules and court orders
 15   restricting discovery in the criminal matter. A stay will also accommodate judicial
 16   efficiency and allow both actions to proceed at different times without disruption or
 17   confusion being caused by the other case. In addition, the Trafficking Victims
 18   Protection and Reauthorization Act provides that “[a]ny civil action filed under this
 19   section shall be stayed during the pendency of any criminal action arising out of the
 20   same occurrence in which the claimant is the victim.” 18 U.S.C. § 1595(b)(1).
 21   Accordingly, the Department of Justice (DOJ), on behalf of the People of the State
 22   of California, respectfully requests that the Court grant the motion, allow the People
 23   to intervene in this action, and stay discovery and disclosure of witnesses until the
 24   criminal matter is resolved.
 25   ///
 26   ///
 27   ///
 28   ///

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  1                               STATEMENT OF FACTS
  2        THE CRIMINAL COMPLAINT AGAINST NAASÓN GARCIA AND CO-
           DEFENDANTS
  3
  4        On June 4, 2019, the DOJ charged Defendant Naasón Garcia, the leader of the
  5   La Luz del Mundo (LLDM) church, along with three co-defendants, with sexually
  6   assaulting and/or trafficking four Jane Does, three of whom were minors. Segal
  7   Decl., ¶ 2, Ex. 1. The DOJ’s investigation revealed a lengthy pattern of Garcia’s
  8   sexually predatory practices targeting minors and young women in the LLDM
  9   community with the aid of “assistants.” Id. The assistants are charged as co-
 10   defendants in the criminal case. Id. Garcia, along with the co-defendants, are
 11   alleged to have groomed the young Jane Does, indoctrinating them, and
 12   incrementally exposing them to sexualized behavior toward Garcia. Id. Ultimately,
 13   the Jane Does were brought to Garcia by his co-conspirators, and forced to comply
 14   with his sexual demands. Id. In addition, the young women were recruited to
 15   participate in pornographic photo shoots, the products of which were provided to
 16   Garcia for his personal enjoyment. Id.
 17        The criminal matter was the subject of review by the California Court of
 18   Appeal, Second District, Case No. B302119, and the Court of Appeal ruled that the
 19   superior court failed to take a proper preliminary hearing time waiver, requiring the
 20   case to be dismissed. Segal Decl., ¶ 3. According to the Court of Appeal docket, it
 21   appears the remittitur will issue on approximately July 8, 2020. Id. The DOJ
 22   intends to immediately re-file the case, preventing any undue delay or change in
 23   circumstances. Id. The DOJ has been ready to proceed in the criminal case and
 24   will be seeking to advance the case within the statutory time frames – 30 days for
 25   preliminary hearing, and, after filing the information, 60 days for trial. Id. The
 26   DOJ does not intend to seek any continuances which would further delay this civil
 27   litigation and in fact will seek to move the criminal case forward as expeditiously as
 28   possible. Id.

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  1           The Los Angeles Superior Court granted the People’s motion pursuant to
  2   California Penal Code section 1054.7 to restrict the identities of the victims and
  3   witnesses in the criminal case and denied the defense motion to discover this
  4   information.1 Segal Decl., ¶ 5, Exs. 2 and 3 (p. 19:3-16). Also, the alleged victims
  5   in the case are identified as Jane Does in various documents to protect their
  6   identities pursuant to California Penal Code section 293.5(a).2 Id., ¶ 5. As a result
  7   of the state court order, the People are not required to provide the defense in the
  8   state criminal matter with victim and witness information. Id., ¶¶ 5, 6, Exs. 2 and 3
  9   (p. 19:3-16).
 10           Defendant Garcia has the same counsel in both the state criminal matter and
 11   the instant civil case. Id., ¶ 6. Motions filed and lost by the defense in the criminal
 12   case indicate that counsel would very likely seek to obtain the information
 13   regarding the identities of the victims and witnesses in the criminal matter in this
 14   civil case. Id.
 15           THE CIVIL LITIGATION
 16           On February 12, 2020, plaintiff filed the complaint in the instant matter
 17   accusing defendant Garcia and his co-defendants of the same type of sexual
 18   misconduct that Garcia is charged with in the criminal complaint – specifically,
 19   human trafficking of young girls. Complaint, ¶¶ 2, 4, 6, 7, 48, 104, 130, 131, 132,
 20   134, 136, 137, 139, 181, 191, 236, 251 and 252. Plaintiff alleges she was trafficked
 21       1
          Penal Code section 1054.7 provides, in relevant part, that “Upon the request of
 22   any party, the court may permit a showing of good cause for the denial or
      regulation of disclosures…” Good cause is defined as “threats or possible danger to
 23   the safety of a victim or witness, possible loss or destruction of evidence, or
 24   possible compromise of other investigations by law enforcement.”
 25   2
        California Penal Code section 293.5(a) provides that the Court may order “the
 26   identity of the alleged victim in all records and during all proceedings to be either
      Jane Doe or John Doe, if the court finds that such an order is necessary to protect
 27   the privacy of the person and will not unduly prejudice the prosecution or the
 28   defense.”

                                                  3
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  1   by, and forced to serve, Garcia, in his role as leader of LLDM. Id., ¶ 4, 178, 191,
  2   251, and 252. Plaintiff alleges that the “conduct that forms the basis of [Garcia’s]
  3   personal civil liability to Ms. Martin (including, but not limited to, his actions
  4   related to trafficking Ms. Martin between the United States and Mexico and his
  5   personal financial benefit from Ms. Martin’s unpaid labor) primarily occurred in
  6   Los Angeles, California.” Id., ¶ 19. She further alleges that both “before and after
  7   she escaped from the [LLDM church], she witnessed or learned of hundreds of
  8   other children and young women subjected to sexual abuse at the hands of the
  9   [LLDM] leadership.” Id., ¶ 6. Plaintiff also alleges that Garcia and others
 10   knowingly developed a systematic practice of trafficking minor children, including
 11   Plaintiff. Id., at ¶ 181. In addition, Plaintiff alleges that in return for trafficking
 12   “suitable” children to Garcia for his sexual enjoyment, upper echelon members of
 13   the LLDM church benefitted financially. Id., ¶ 131.
 14        Also notable are Plaintiff’s allegations regarding witness intimidation by
 15   another LLDM church member aimed at derailing the state criminal prosecution
 16   against Garcia. Plaintiff alleges:
 17        On or about June 30, 2019, two individuals acting on behalf of
 18        Defendants entered Ms. Martin’s home without her permission with the
 19        intention of intimidating her and preventing her from serving as a witness
 20        against [Garcia] in his criminal prosecution for conspiracy to commit
 21        human trafficking, extortion, and sexual crimes against minors.
 22   Id., ¶ 197. Plaintiff also asserts:
 23        On or about August 28, 2019, a known lawyer for Defendant LLDM
 24        approached Ms. Martin and another potential testifying witness and
 25        attempted to use video footage and vague threats to prevent both Ms.
 26        Martin and the other potential witness from testifying against [Garcia] in
 27        his criminal trial for human trafficking.
 28   Id., ¶ 198; see also ¶¶ 134, 145, 146, 148, 149, 151, and 80 (“Ms. Martin has
                                                  4
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  1   also been told of the attempted murder of an individual believed to have
  2   information potentially supporting criminal proceedings against Naasón.”)
  3         It is the DOJ’s understanding that discovery in this matter has not yet
  4   commenced, but that answers by the defendants have been filed or will be filed in
  5   the near future. Segal Decl., ¶ 8. In addition, according to this Court’s docket, a
  6   scheduling conference has been set for September 14, 2020. Dkt. No. 39.
  7                                       ARGUMENT
  8   I.   INTERVENTION BY THE PEOPLE OF THE STATE OF CALIFORNIA IS
           APPROPRIATE UNDER FEDERAL RULE OF CIVIL PROCEDURE 24
  9
 10        Given the overlapping facts in the state prosecution and the instant federal
 11   civil case, the sensitive nature of both matters, the need to maintain the safety of
 12   victims, and the need for the People of the State of California to protect their
 13   interests, intervention by the People is appropriate.
 14        A.   Intervention as of Right is Appropriate
 15        Rule 24(a) of the Federal Rules of Civil Procedure provides that the Court
 16   must permit
 17        anyone to intervene who … claims an interest relating to the property or
 18        transaction that is the subject of the action, and is so situated that
 19        disposing of the action may as a practical matter impair or impede the
 20        movant’s ability to protect its interest, unless existing parties adequately
 21        represent that interest.
 22   Fed. R. Civ. P. 24(a). Courts have routinely held that prosecutors have a
 23   “discernable interest in intervening in order to prevent discovery in the civil case
 24   from being used to circumvent the more limited scope of discovery in the criminal
 25   matter.” S.E.C. v. Chestman, 861 F.2d 49, 50 (2d Cir. 1988) (holding government
 26   intervention appropriate to prevent civil discovery from being used to circumvent
 27   discovery in criminal matter); see also, United States v. Nicholas, 569 F. Supp. 2d
 28   1065, 1068 (C.D. Cal. 2008) (numerous courts have allowed the government “to
                                                 5
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  1   intervene in a civil case for the purpose of moving to stay discovery and other
  2   proceedings until the resolution of a related criminal case.”). Intervention as of
  3   right is proper if:
  4        (1) the intervention application is timely; (2) the applicant has a
  5        significant, protectable interest relating to the property or transaction that
  6        is the subject of the action; (3) the disposition of the action may, as a
  7        practical matter, impair or impede the applicant’s ability to protect its
  8        interest; and (4) the existing parties may not adequately represent the
  9        applicant’s interest.
10    Chamness v. Bowen, 722 F.3d 1110, 1121 (9th Cir. 2013) (citation and internal
11    quotation marks omitted). Intervention as of right is construed liberally in favor of
12    applicants for intervention. Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir.
13    2003), as amended (May 13, 2003).
14         The People meet the standards for intervention as of right. First, the People
15    are timely seeking to intervene in this matter. The complaint was filed on February
16    12, 2020. Dkt. No. 1. To date not all defendants have answered, discovery has yet
17    to commence, and a scheduling conference is set for September 14, 2020. Segal
18    Decl., ¶ 8; Dkt. No. 39. The motion is also timely because the victim and witness
19    identities have not been disclosed in the criminal matter. Segal Decl., ¶¶ 5, 6 and
20    Exs. 2 and 3.
21         As to the second and third factors, the People have a direct and substantial
22    interest in the subject of this litigation which would be impaired if discovery is
23    permitted. Both matters involve allegations against defendant Garcia for using his
24    position of power within the LLDM church to traffic young women and commit
25    other sex crimes against young women whose families were devoted to the LLDM
26    church. Hence, the criminal and civil cases involve common questions of law and
27    fact – specifically, whether certain individuals conspired to traffic, groom, and
28    present young girls for defendant Garcia’s sexual gratification and sexual abuse.
                                                6
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  1   See Ashworth v. Albers Med. Inc., 229 F.R.D. 527, 530 (S.D.W. Va. 2005).
  2        The People have a compelling interest in protecting the physical safety and
  3   privacy of the victims and witnesses in the criminal case who will likely be the
  4   subject of discovery in the civil matter. Segal Decl., ¶¶ 4, 7. In addition, the
  5   People have a strong interest in protecting the integrity of the criminal prosecution
  6   and preventing potential witness intimidation. Many of the victims and witnesses
  7   to this conduct live with family members who are still LLDM church members, live
  8   in neighborhoods along with other members, and even frequent LLDM churches
  9   and other locations. Segal Decl., ¶ 4. Throughout the criminal case, these victims
10    and witnesses have been subjected to harassment and intimidation from other
11    members that has made them feel threatened and unsafe, similar to those described
12    by Plaintiff in her complaint. Id.; Complaint, ¶¶ 80, 134, 145, 146, 148, 149, 151,
13    197, and 198. As a result, the Los Angeles Superior Court granted the People’s
14    motion pursuant to Penal Code section 1054.7 to restrict the identities of the victims
15    and witnesses. Segal Decl., ¶ 5, Exs. 2 and 3. Pursuant to the court’s order, the
16    People are not required to provide victim and witness information to the defense in
17    the state criminal matter. Id. In addition, the alleged victims are identified as Jane
18    Does in the criminal matter to protect their identities. Id., ¶ 5. The disclosure of
19    the victim’s and witnesses’ information in the civil case prior to disclosure in the
20    criminal case will subject them to continued harassment, and quite possibly
21    physical danger. The People have a compelling interest in protecting the victims
22    and witnesses – both their physical safety and court-ordered confidentiality – in
23    order to safeguard the individuals involved and to preserve the integrity of the
24    criminal prosecution. The People’s ability to do so should not be compromised by
25    the parallel civil matter.
26         Finally, the People’s interests cannot be adequately represented in this civil
27    matter because, absent an order staying discovery, witness and victim information
28    will be disclosed. Counsel for Defendant Garcia in the criminal matter – who is
                                                 7
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  1   the same counsel representing him in this case – sought the victim and witness
  2   identities via discovery motions in the criminal case and will therefore likely seek
  3   the information in this case. Segal Decl., ¶ 6. Given the more liberal discovery
  4   rules and the disclosure requirements in this civil case, the disclosure of this
  5   information is inevitable absent intervention by the People. Several individuals
  6   would likely be identified through disclosure and discovery in this civil matter
  7   before being identified in the criminal matter, thereby allowing the defense to use
  8   the civil case to circumvent the court orders in the criminal matter. Id. The
  9   criminal defendants should not be allowed to use the civil matter to obtain
10    information to which they are legally not yet entitled in the criminal case. The
11    People’s interests will be seriously impaired absent a ruling by this Court allowing
12    the People to intervene and stay discovery and disclosure of witness information in
13    this action.
14         B.    Permissive Intervention Is Appropriate
15         Alternatively, the People easily satisfy the standard for permissive
16    intervention. Federal Rule of Civil Procedure 24(b) requires only that the movant
17    “has a claim . . . that shares with the main action a common question of law or
18    fact.” Fed. R. Civ. P. 24(b). The same conduct at issue in the criminal case in Los
19    Angeles County Superior Court is at issue in this case. Segal Decl., ¶¶ 2-4, Ex. 1;
20    Complaint, ¶¶ 2, 4, 6, 7, 48, 104, 130, 131, 132, 134, 136, 137, 139, 181, 191, 236,
21    251 and 252. Although Sochil Martin is not an alleged victim in the underlying
22    criminal case, the incidents alleged in both cases arise out of the same scheme and
23    pattern of conduct of sexual abuse against girls and young women over the same
24    time frame by defendant Garcia. Segal Decl., ¶ 4. Moreover, discovery in the civil
25    case will necessarily involve most, if not all, of the victims alleged in the criminal
26    complaint. Id.
27         It is well established that prosecutors “may intervene in a federal civil action
28    to seek a stay of discovery when there is a parallel criminal proceeding, which is
                                                8
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  1   anticipated or already underway that involves common questions of law or fact.”
  2   S.E.C. v. Mersky, No. Civ. A. 93-5200, 1994 WL 22305, at *1 (E.D. Pa. Jan. 25,
  3   1994) (quoting S.E.C. v. Downe, No. 92 Civ. 4092, 1993 WL 22126, at *10
  4   (S.D.N.Y. Jan. 26, 1993)); see also, Bureerong v. Uvawas, 167 F.R.D. 83, 85-86
  5   (C.D. Cal. 1996) (allowing intervention under Rule 24(b) for the limited purpose of
  6   seeking a stay of discovery pending the conclusion of a related criminal
  7   proceeding); Chestman, 861 F.2d at 50; Twenty First Century Corp. v. LaBianca,
  8   801 F. Supp. 1007, 1009 (E.D.N.Y. 1992) (same). Courts hold that state
  9   prosecutors are also permitted to intervene in a federal civil action when there is a
10    pending state criminal action involving common questions of law or fact. See, e.g.,
11    O’Connell v. Smith, No. CV-13-01905-MWF (PJWx), 2014 WL 12773900, at *1-2
12    (C.D. Cal. Aug. 18, 2014) (allowing permissive intervention of District Attorney to
13    stay discovery); and Board of Governors of Federal Reserve System v. Pharoan,
14    140 F.R.D. 634, 638 (S.D.N.Y. 1991) (allowing permissive intervention of District
15    Attorney to stay depositions). Accordingly, permissive intervention is appropriate.
16          Intervention by the People is warranted under both Federal Rule of Civil
17    Procedure 24(a) and 24(b). In light of the rules and case precedent allowing for
18    intervention in these circumstances, the People’s compelling interest in protecting
19    victims, and the common questions of fact between the civil and criminal cases, the
20    People request that this Court grant their motion to intervene in this case.
21    II.   A STAY OF DISCOVERY IS WARRANTED IN THE INTERESTS OF JUSTICE
22          The Supreme Court established long ago that a District Court has the power to
23    stay proceedings in one action until the disposition of another. Landis v. North Am.
24    Co., 299 U.S. 248, 254 (1936). According to the Court, “the power to stay
25    proceedings is incidental to the power inherent in every court to control the
26    disposition of the causes on its docket with economy of time and effort for itself,
27    for counsel, and for litigants.” Id. A court may stay civil proceedings, postpone
28    civil discovery or impose protective orders and conditions when the interests of
                                                9
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  1   justice require. S.E.C. v. Dresser Industries, Inc., 628 F.2d 1368, 1375 (D.C. Cir.
  2   1980) (quoting United States v. Kordel, 397 U.S. 1, 12 n. 27 (1970); United States
  3   v. Any and All Assets of That Certain Business Known as Shane Co., 147 F.R.D. 99,
  4   101 (M.D.N.C. 1993) (“the public has an interest in law enforcement which may,
  5   under proper circumstances, be given priority over concurrent civil proceedings”).
  6         Specifically, a court has discretion to stay civil proceedings pending the
  7   outcome of parallel criminal proceedings when “the interests of justice seem to
  8   require such action.” Keating v. Office of Thrift Supervision, 45 F.3d 322, 324 (9th
  9   Cir. 1995) (quotation omitted). “The decision whether to stay civil proceedings in
10    the face of a parallel criminal proceeding should be made ‘in light of the particular
11    circumstances and competing interests involved in the case.’” Id. In determining
12    whether to grant a stay, the Court must weigh five factors:
13             (1) the interests of the plaintiffs in proceeding expeditiously .
14             ..;
15             (2) the burden which . . . the proceedings may impose on the
16             defendants;
17             (3) the convenience of the court in the management of its
18             cases, and the efficient use of judicial resources;
19             (4) the interest of persons not parties to the civil litigation;
20             and,
21             (5) the interest of the public in the pending civil and criminal
22             litigation.
23    Id. at 325. Each Keating factor weighs in favor of a stay.
24    ///
25    ///
26    ///
27    ///
28    ///
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  1        A.   The Public Interest and the People’s Interest Strongly Weigh in
                Favor of a Stay
  2
  3         As discussed above, it is well-established that a criminal prosecutor has a
  4   compelling interest in preventing civil defendants from circumventing the limited
  5   discovery available in criminal proceedings via civil discovery and that this interest
  6   is entitled to great weight. As the Fifth Circuit put it:
  7        A litigant should not be allowed to make use of the liberal discovery
  8        procedures applicable to a civil suit as a dodge to avoid the restrictions
  9        on criminal discovery and thereby obtain documents he would not
10         otherwise be entitled to for use in his criminal trial. Judicial discretion
11         and procedural flexibility should be utilized to prevent the rules and
12         policies applicable to one suit from doing violence to those pertaining to
13         the other.
14    Campbell v. Eastland, 307 F.2d 478, 487 (5th Cir. 1962), cert. denied, 371 U.S.
15    955, 83 S.Ct. 502 (1963); see also, Chestman, 861 F.2d at 50 (government had
16    “discernible interest” in preventing discovery in a civil case from being used to
17    circumvent more limited scope of discovery in a criminal matter under
18    investigation); Nicholas, 569 F. Supp. 2d at 1071-1072 (affirming weight accorded
19    to priority of criminal discovery rules in the case of parallel proceedings because
20    these rules “are designed to protect the integrity and truth-seeking function of the
21    criminal process”).
22         As discussed above, the victims and other witnesses in the criminal case could
23    be seriously harmed by discovery of their personal identifying information and
24    forced involvement in the civil case. The People seek a stay of disclosures and
25    discovery to prevent Garcia and the other criminal defendants from circumventing
26    the legal protective and other court orders in the criminal case to gain access to
27    information to defend Garcia in the criminal case – most importantly victim and
28    other witness information which was ordered not disclosed in order to protect the

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  1   individuals’ safety.
  2         Other courts similarly have recognized the risks of subverting the limits of
  3   criminal discovery as a legitimate basis for a stay of civil discovery. See, e.g.,
  4   United States v. Mellon Bank, 545 F.2d 869, 873 (3d Cir. 1976) (possibility that
  5   defendant might improperly exploit civil discovery to advance criminal case argued
  6   in favor of a stay in civil case); General Dynamics Corp. v. Selb Mfg. Co., 481 F.2d
  7   1204, 1213 (8th Cir. 1973), cert. denied, 414 U.S. 1162 (1974) (“civil discovery is
  8   not intended to be a ‘back door’ method of accomplishing criminal discovery”)
  9   (citation omitted); United States v. One 1967 Buick Hardtop Electra, 304 F. Supp.
10    1402, 1403 (W.D. Pa. 1969) (criminal defendant should not be permitted through
11    use of civil discovery to secure that to which he is not entitled under the Rules of
12    Criminal Procedure); United States v. Maine Lobsterman’s Ass’n, 22 F.R.D. 199,
13    201 (D. Me. 1958) (defendants in criminal [antitrust cases] cannot properly take
14    advantage of companion civil case to obtain prosecution evidence not otherwise
15    available to defendants).
16          Defendants, especially Garcia, will likely seek to obtain information regarding
17    the identities of the victims and witnesses in the criminal case via disclosures,
18    written discovery, depositions, or other means of discovery – tools that are not
19    available in the parallel criminal matter. Such discovery would endanger the
20    victims and witnesses and undermine the criminal prosecution. The People
21    respectfully submit that such abuse of the judicial system should not be permitted;
22    therefore, a stay is appropriate. See, e.g., Nicholas, 569 F. Supp. 2d at 1071-1072
23    (collecting cases granting government’s requests for a discovery stay to prevent
24    defendants from using civil discovery to obtain disclosures otherwise unavailable
25    under the criminal rules).
26    ///
27    ///
28    ///
                                                12
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  1        B.    The Convenience of the Court and Efficient Use of Judicial
                 Resources Weigh in Favor of a Stay
  2
  3        As discussed above, the criminal matter and this civil case involve
  4   considerable overlapping issues of law and fact regarding allegations of human
  5   trafficking and sexual abuse of young girls. The convenience and efficiency of the
  6   court would benefit from the criminal action moving forward to conclusion prior to
  7   the civil case proceeding. With both actions moving forward simultaneously, both
  8   actions could conceivably be interrupted by the other, causing multiple written
  9   motions and hearings on various issues, causing further clogging of both court
10    dockets. As one court noted, “dual litigation does not serve the interests of
11    efficiency or judicial economy.” Nicholas, 569 F. Supp. 2d at 1071. Dual litigation
12    creates concerns about inconsistent civil and criminal judgments, issues of
13    collateral estoppel, and parallel law and motion matters that weigh in favor of a stay
14    of the civil case. Id.
15         C.    The Burden on Defendants Is Minimal
16         The People respectfully submit that the imposition of a stay of discovery at
17    this stage in the proceedings will not impose a heavy burden on defendants in this
18    civil case. The case was very recently filed. Due to the COVID-19 pandemic,
19    cases have been delayed for the last two months, and it is expected that criminal
20    matters will take precedence over civil matters when the District Court fully
21    reopens. This Court has not yet set a trial date, and discovery has not begun. Dkt.
22    No. 39. Upon re-filing the criminal case, the People intend to move forward as
23    quickly as possible, and the criminal case will be given priority in the criminal court
24    system given the serious nature of the charges and the fact that two of the
25    defendants remain in custody – Garcia without bail. Therefore, the delay should be
26    relatively short. As the Second Circuit observed in Chestman, “appropriate
27    opportunities for discovery can be allowed when the stay is lifted,” thereby
28    ensuring that defendants’ “defense of the civil case is thus not affected.” Chestman,

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  1   861 F.2d at 50.
  2         D.   Plaintiff Does Not Oppose the Stay
  3         The interests of Plaintiff to move forward in this case expeditiously is not
  4   harmed. Plaintiff’s counsel advised that Plaintiff does not oppose the motion;
  5   therefore, this factor is not relevant to the determination of whether to grant a stay.
  6   Dean Decl., ¶¶ 3 and 4, Ex. 7.
  7         E.   A Stay Is Also Mandated by the Trafficking Victims Protection
                 and Reauthorization Act
  8
  9         The Trafficking Victims Protection and Reauthorization Act (TVPRA), under
10    which plaintiff brought her case, provides that “[a]ny civil action filed under this
11    section shall be stayed during the pendency of any criminal action arising out of the
12    same occurrence in which the claimant is the victim.” 18 U.S.C. § 595(b)(1).
13    Courts routinely find this language to “make[] a stay mandatory” until “final
14    adjudication in the trial court.” Ara v. Kham, No. CV 07-1251 (ARR) (JO), 2007
15    WL 1726456 at *1 (E.D.N.Y. Jun.14, 2007); see also Lunkes v. Yannai, 882 F.
16    Supp. 2d 545, 549 (S.D.N.Y. 2012) (“‘[P]rosecutions should take priority over civil
17    redress and ... should be complete prior to going forward with civil suits.’ H.R.Rep.
18    No. 108–264, pt. 2, at 17 (2003). The inclusion of the mandatory stay provision was
19    meant to allay that concern.”). This mandatory stay appears to apply to all
20    defendants, regardless of whether all defendants are party to the criminal action.
21    See Lunkes, 882 F. Supp. 2d at 549 (“In light of the statute’s goal of protecting the
22    government’s ability to prosecute traffickers criminally, it is most appropriate for a
23    Section 1595 stay to encompass all defendants in a case. Discovery with respect to
24    those civil defendants not facing criminal charges . . . , will frequently overlap
25    significantly with the discovery relating to criminally charged defendants. Thus, the
26    risk of interference with criminal prosecution is fully addressed only be [sic]
27    extending the stay to all defendants.”)
28    ///
                                                14
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  1        The People’s request for a stay is fully supported by the law, and a stay will
  2   protect young victims and witnesses and maintain the public confidence in a fair
  3   criminal trial. Due to the People’s compelling interest in protecting victim and
  4   witness safety and confidentiality, as well as the public interest in the integrity of
  5   the criminal prosecution of an alleged serial sexual predator, the Keating factors
  6   weigh strongly in favor of the requested stay.
  7                                      CONCLUSION
  8         For the reasons stated herein, the People respectfully request that their
  9   motion for intervention and a stay of disclosures and discovery in this action be
10    granted.
11
12    Dated: June 12, 2020                           Respectfully submitted,
13                                                   XAVIER BECERRA
                                                     Attorney General of California
14                                                   MARK T. CUMBA
                                                     Supervising Deputy Attorney General
15
16
                                                     s/ Donna M. Dean
17
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19                                                   California
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